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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                        )
In re                                   )                   Chapter 11
                                        )
TOUGH MUDDER INC., et al., 1            )                   Case No. 20-10036 (CSS)
                                        )
                Debtors.                )                   Jointly Administered
                                        )
                                        )                   Objection Deadline:
                                        )                   March 13, 2020, at 4:00 p.m. (EDT)
                                        )                   Hearing Date:
                                        )                   March 23, 2020, at 2:00 p.m. (EDT)
                                        )
_______________________________________ )

          CHAPTER 11 TRUSTEE’S FIRST OMNIBUS MOTION FOR
         ENTRY OF AN ORDER (I) AUTHORIZING THE CHAPTER 11
TRUSTEE TO (A) REJECT CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
    LEASES NUNC PRO TUNC TO FEBRUARY 28, 2020 AND (B) ABANDON OR,
IN THE ALTERNATIVE, SELL CERTAIN PERSONAL PROPERTY IN CONNECTION
            THEREWITH, AND (II) GRANTING RELATED RELIEF

                PARTIES RECEIVING THIS MOTION SHOULD LOCATE
                 THEIR NAMES AND THEIR CONTRACTS OR LEASES
                  LISTED ON EXHIBIT 1 TO THE PROPOSED ORDER,
                        ATTACHED HERETO AS EXHIBIT A.

                Derek C. Abbott, Esq., the chapter 11 trustee (the “Trustee”) for Tough Mudder

Inc. (“Tough Mudder”) and Tough Mudder Event Production Inc. (“TM Events” and, together

with Tough Mudder, the “Debtors”), in the above-captioned chapter 11 cases (the “Chapter 11

Cases”) hereby moves (the “Motion”), pursuant to sections 105(a), 365, 554(a) and 363(b) of

title 11 of the United States Code (the “Bankruptcy Code”) and rules 6006, 6004 and 9014 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of an order

substantially in the form attached hereto as Exhibit A (the “Proposed Order”): (a) authorizing


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        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
        The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
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the Trustee to (i) reject, as identified on Exhibit 1 to the Proposed Order, the executory contracts

(the “Executory Contracts”) and unexpired leases (the “Unexpired Leases” and, together with the

Executory Contracts, the “Specified Contracts and Leases”), effective as of February 28, 2020,

and (ii) abandon or, in the alternative, sell certain personal property that remains at the Debtors’

headquarters located at 15 MetroTech Center, Brooklyn, NY 12201 (the “Headquarters”): and

(b) granting related relief. In support of the Motion, the Trustee respectfully states as follows:

                                         JURISDICTION

               1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated as of February 29, 2012. Venue is proper pursuant to 28

U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

               2.      Pursuant to rule 9013-1(f) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), the Trustee consents to the entry of a final order by the Court in connection with this

Motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

               3.      The statutory bases for the relief requested herein are sections 105(a), 365,

554(a) and 363(b) of the Bankruptcy Code and Bankruptcy Rules 6006, 6004 and 9014.

                                  GENERAL BACKGROUND

               4.      On January 7, 2020 (the “Petition Date”), Valley Builders LLC,

Trademarc Associates, Inc., and David Watkins Homes Inc. filed involuntary petitions under

chapter 11 of the Bankruptcy Code against the Debtors.



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                5.      A more detailed description of the Debtors’ business, corporate structure,

prepetition indebtedness, and events leading to the bankruptcy filings is set forth in the

Declaration of Kyle McLaughlin in Support of Chapter 11 Trustee’s Motion for Entry of an

Order (I) Approving Entry Into and Performance Under Asset Purchase Agreement by and

Among Spartan Race, Inc., and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of

Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and

Interests, (III) Approving the Assumption and Assignment of Certain Contracts and Related

Procedures, (IV) Approving the Bid Protections, and (V) Granting Related Relief (the

“McLaughlin Declaration”). 2 This Motion incorporates by reference the facts set forth in the

McLaughlin Declaration as if fully set forth herein.

                6.      On January 21, 2020, the Court entered the Order Directing the

Appointment of a Chapter 11 Trustee [D.I. 18] and the Order for Relief in Involuntary Case [D.I.

19]. The Court entered an order approving the appointment of the Trustee on January 30, 2020

(the “Appointment Date”) [D.I. 24], and the Trustee accepted his appointment on January 31,

2020 [D.I. 25]. Since that time, the Trustee has managed the Debtors’ affairs pursuant to section

1106 of the Bankruptcy Code. No official committee has been appointed in the Chapter 11

Cases.

                7.      On February 25, 2020, the Court entered the Order (I) Approving the Asset

Purchase Agreement by and Among Spartan Race, Inc., and Debtors’ Chapter 11 Trustee, (II)

Authorizing the Private Sale of Substantially All of the Debtors’ Assets Free and Clear of All

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         The McLaughlin Declaration is attached as Exhibit C to the Chapter 11 Trustee’s Motion for
         Entry of an Order (I) Approving Entry Into and Performance Under Asset Purchase Agreement
         by and Among Spartan Race, Inc., and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of
         Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and
         Interests, (III) Approving the Assumption and Assignment of Certain Contracts and Related
         Procedures, (IV) Approving the Bid Protections, and (V) Granting Related Relief [D.I. 30].


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Liens, Claims, Encumbrances, and Interests, (III) Approving the Assumption and Assignment of

Assume Events and Contracts, and (IV) Granting Related Relief [D.I. 81] (the “Sale Order”).

The Sale Order authorizes the Trustee to sell substantially all of the Debtors’ assets (the “Sale”)

to Spartan Race, Inc. or its designee, which designee is OCR US Holdings, LLC (the “Buyer”)

pursuant to the terms of the asset purchase agreement attached to the Sale Order as Exhibit A

(the “Sale Agreement”). The Sale to the Buyer closed that same day.

               8.      The Debtors are party to a significant number of prepetition executory

contracts and unexpired leases. Certain of the Debtors’ executory contracts were assumed by the

Buyer under the Sale Order and the terms of the Sale Agreement. In the Trustee’s exercise of his

business judgment, he believes the unexpired leases and the majority of the Debtors’ remaining

executory contracts that were not assumed by the Buyer are no longer necessary to the

administration of the Debtors’ estates and provide no meaningful value to the Debtors or their

estates. In particular, the Debtors no longer have any business use for, and therefore seek to

reject, the Specified Contracts and Leases that are the subject of this Motion.

               9.      In addition, among the Specified Contracts and Leases listed on Exhibit 1

to Exhibit A is that certain Unexpired Lease for the Headquarters (the “Headquarters Lease”).

Under the terms of the Sale Agreement, the Buyer did not purchase certain de minimis personal

property located at the Headquarters, including furniture, televisions, equipment, and other items

(collectively, the “De Minimis Assets”). Knowing that he would need to reject the Headquarters

Lease as of the date hereof in order to avoid paying rent for the month of March 2020, but

understanding that the De Minimis Assets may hold some liquidation value, the Trustee engaged

in discussions with the Debtors’ landlord, Wellpoint Holding Corp. (“Wellpoint”), and certain of

the Debtors’ subtenants on the potential sale of the De Minimis Assets.



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               10.     As of the date hereof, the Trustee remains in discussions with those parties

but a deal has not yet been reached. Accordingly, by this Motion, in addition to the rejection of

the Specified Contracts and Leases, the Trustee seeks to abandon the De Minimis Assets under

section 554(a) of the Bankruptcy Code upon the entry of an order or, in the alternative, sell the

De Minimis Assets pursuant to section 363(b) of the Bankruptcy Code to a buyer.

                                     RELIEF REQUESTED

               11.     By this Motion, the Trustee respectfully requests entry of an order,

substantially in the form of the Proposed Order attached hereto as Exhibit A: (a) authorizing the

Trustee to (i) reject the Specified Contracts and Leases nunc pro tunc to February 28, 2020 and

(b) abandon or, in the alternative, sell the De Minimis Assets; and (b) granting related relief.

                                      BASIS FOR RELIEF

I.     Rejection of the Specified Contracts and Leases reflects a sound exercise of the
       Trustee’s business judgment and should be authorized.

               12.     Section 365(a) of the Bankruptcy Code provides that a trustee may, with

court approval, assume or reject an executory contract or unexpired lease. 11 U.S.C. § 365(a)

(2018). In determining whether to approve a debtor’s request to assume or reject an executory

contract or unexpired lease, courts generally defer to the trustee’s business judgment. NLRB v.

Bildisco & Bildisco, 465 U.S. 513, 523 (1984) (stating that the traditional standard applied by

courts to authorize the rejection of an executory contract is that of “business judgment”); see also

Delightful Music Ltd. v. Taylor (In re Taylor), 913 F.2d 102 (3d Cir. 1990); Glenstone Lodge,

Inc. v. Buckhead Am. Corp. (In re Buckhead Am. Corp.), 180 B.R. 83 (D. Del. 1995).

               13.     Courts generally will not second-guess a trustee’s business judgment

concerning rejection of an executory contract or unexpired lease.          See In re Trans World

Airlines, Inc., 261 B.R. 103, 121 (Bankr. D. Del. 2001) (“A . . . decision to reject an executory


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contract must be summarily affirmed unless it is the product of ‘bad faith, or whim or caprice.’”

(quoting Wheeling-Pittsburgh Steel Corp. v. W. Penn Power Co. (In re Wheeling-Pittsburgh

Steel Corp.), 72 B.R. 845, 849–50 (Bankr. W.D. Pa. 1987))). The “business judgment” test is

not a strict standard; it merely requires a showing that either assumption or rejection of the

executory contract or unexpired lease will benefit the debtor’s estate. NLRB v. Bildisco (In re

Bildisco), 682 F.2d 72, 79 (3d Cir. 1982) (noting that the “usual test for rejection of an executory

contract is simply whether rejection would benefit the estate”) aff’d, 465 U.S. 513 (1984).

“Section 365 enables the trustee to maximize the value of the debtor’s estate by assuming

executory contracts and unexpired leases that benefit the estate and rejecting those that do not.”

L.R.S.C. Co. v. Rickel Home Ctrs., Inc. (In re Rickel Home Ctrs., Inc.), 209 F.3d 291, 298 (3d

Cir. 2000); see also Stewart Title Guar. Co. v. Old Republic Nat’l Title Ins. Co., 83 F.3d 735,

741 (5th Cir. 1996) (holding that section 365 of the Bankruptcy Code “‘allows a trustee to

relieve the bankruptcy estate of burdensome agreements which have not been completely

performed’” (quoting Phoenix Expl., Inc. v. Yaquinto (In re Murexco Petroleum, Inc.), 15 F.3d

60, 62 (5th Cir. 1994))).

               14.     Under the circumstances, the rejection of the Specified Contracts and

Leases is an appropriate exercise of the Trustee’s business judgment that will reduce financial,

administrative, and other burdens on the Debtors’ estates. The Trustee has been winding down

the Debtors’ affairs since the Appointment Date. The Debtors are not operating as a going

concern, and therefore the Specified Contracts and Leases are no longer necessary to the

Debtors’ business or otherwise in connection with the administration of the Debtors’ estates.

Further, the Specified Contracts and Leases are agreements that, in many instances, the Trustee

has determined are financially burdensome to the Debtors and that appear to have no marketable



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value that could be generated through assumption and assignment. Accordingly, the Debtors’

continued performance under the Specified Contracts and Leases would constitute an

unnecessary depletion of value of the Debtors’ estates.

               15.     For these reasons, the Court should authorize the Trustee to reject the

Specified Contracts and Leases.

II.    Rejection of the Specified Contracts and Leases nunc pro tunc to February 28, 2020,
       is warranted.

               16.     The Court should authorize rejection of the Specified Contracts and

Leases nunc pro tunc to February 28, 2020, because the Trustee stated unequivocally his

intention to reject the Specified Contracts and Leases by filing the Motion. Courts in this district

and elsewhere recognize that nunc pro tunc rejection is appropriate where the balance of the

equities favors such relief. See SCS Co. v. Peter J. Schmitt Co., No. 94CV125, 1995 WL

1772010, at *2 (D. Del. May 15, 1995) (noting that a bankruptcy court has authority to select a

retroactive date for the effective date of a lease’s rejection); In re Chi-Chi’s, Inc., 305 B.R. 396,

399 (Bankr. D. Del. 2004) (acknowledging that a bankruptcy court may approve a rejection

retroactive to the date the motion is filed after balancing the equities in the particular case); In re

Fleming Cos., 304 B.R. 85, 96 (Bankr. D. Del. 2003) (stating that rejection has been allowed

nunc pro tunc to the date of the motion or the date the premises were surrendered); see also

Thinking Machs. Corp. v. Mellon Fin. Servs. Corp. #1 (In re Thinking Machs. Corp.), 67 F.3d

1021, 1028 (1st Cir. 1995) (finding that, in the context of rejections of executory contracts,

“bankruptcy courts may enter retroactive orders of approval, and should do so when the balance

of equities preponderates in favor of such remediation”).

               17.     The balance of equities favors the relief requested herein. Without a

retroactive date of rejection, contractual counterparties may attempt to assert additional


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administrative expenses under the Specified Contracts and Leases. As stated above, the Trustee

no longer has use for such Specified Contracts and Leases, and maintaining the contracts and

leases would impose an unnecessary burden on the Debtors’ estates. Therefore, the Trustee

respectfully submits that it is fair and equitable for the Court to order that the Specified Contracts

and Leases be rejected retroactively as of February 28, 2020.

III.   The Motion complies with Bankruptcy Rule 6006(f).

               18.     Bankruptcy Rule 6006(f) establishes requirements for a motion to reject

multiple executory contracts or unexpired leases that are not each between the same parties.

Bankruptcy Rule 6006(f) states, in relevant part, that such a motion shall:

                       (1) state in a conspicuous place that parties receiving the
               omnibus motion should locate their names and their contracts or
               leases listed in the motion;
                       (2) list parties alphabetically and identify the corresponding
               contract or lease;
                       (3) specify the terms, including the curing of defaults, for
               each requested assumption or assignment;
                       (4) specify the terms, including the identity of each
               assignee and the adequate assurance of future performance by each
               assignee, for each requested assignment;
                       (5) be numbered consecutively with other omnibus motions
               to assume, assign, or reject executory contracts or unexpired
               leases; and
                       (6) be limited to no more than 100 executory contracts or
               unexpired leases.

Fed. R. Bankr. P. 6006(f)(1)–(6).

               19.     The Trustee respectfully submits that this Motion complies with the

requirements of Bankruptcy Rule 6006(f) applicable to this Motion.




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IV.    The abandonment, or in the alternative, sale of the de minimis personal property at
       the Leased Premises is appropriate.

               20.     In addition to the rejection of the Specified Contracts and Leases, the

Trustee seeks to abandon, or in the alternative, sell the De Minimis Assets to a potential

purchaser for the benefit of the Debtors’ estates and creditors.

               21.     The abandonment of the De Minimis Assets is appropriate and authorized

by the Bankruptcy Code. See 11 U.S.C. § 554(a). Section 554(a) provides that “[a]fter notice

and a hearing, the trustee may abandon any property of the estate that is burdensome to the estate

or that is of inconsequential value and benefit to the estate.” Id. Courts generally give a trustee

great deference to its decision to abandon property. See, e.g., In re Vel Rey Props., Inc., 174 B.R.

859, 867 (Bankr. D.D.C. 1994) (“Clearly, the court should give deference to the trustee’s

judgment in such matters.”). Unless certain property is harmful to the public, once a trustee has

shown that it is burdensome or of inconsequential value to the estate, a court should approve the

abandonment. Id. The Trustee understands that the cost to transport and store the De Minimis

Assets exceeds any potential liquidation value. Therefore, unless a sale transpires, the De

Minimis Assets will be burdensome to the estates and the Trustee should be permitted to

abandon the property to avoid further expense.

               22.     In the alternative, the Trustee should be authorized to sell the De Minimis

Assets if a deal materializes between the date hereof and the entry of the Proposed Order for the

benefit of the estates and the Debtors’ creditors.       Section 363(b) of the Bankruptcy Code

provides that “[t]he trustee, after notice and a hearing, may use, sell or lease, other than in the

ordinary course of business, property of the estate.” 11 U.S.C. § 363(b) (2018). Although

section 363 of the Bankruptcy Code does not specify a standard for determining when it is

appropriate for a court to authorize the use, sale, or lease of property of a debtor’s estate, courts


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have approved the authorization of a sale of a debtor’s assets if such sale is based upon the sound

business judgment of the trustee. See, e.g., Myers v. Martin (In re Martin), 91 F.3d 389, 395 (3d

Cir. 1996) (citing In re Schipper, 933 F.2d 513 (7th Cir. 1991)) (requiring “some articulated

business justification” for the sale of the debtor’s assets out of the ordinary course); In re

Chateaugay Corp., 973 F.2d 141, 143 (2d Cir. 1992); Stephen Indus., Inc. v. McClung, 789 F.2d

386 (6th Cir. 1986); Committee of Equity Security Holders v. Lionel Corp. (In re Lionel Corp.),

722 F.2d 1063, 1071 (2d Cir. 1983).

               23.     Sound business reasons exist for the Trustee to sell the De Minimis Assets

if the opportunity arises.    The Trustee is seeking rejection of the Unexpired Lease of the

Headquarters nunc pro tunc to today. To do so, the Trustee has surrendered possession of the

Headquarters to Wellpoint by vacating the premises and returning the keys to them. However,

with Wellpoint’s knowledge, certain personal property, including the De Minimis Assets, remain

on the premises and are subject to later disposition by the Trustee.              Under ordinary

circumstances, the Trustee would merely abandon the property to Wellpoint without obtaining

any value so as to avoid any administrative burden of transportation and storage. Here, however,

the Trustee has been presented with a unique opportunity in the last couple of days to sell the De

Minimis Assets to either Wellpoint or a subtenant of the Debtors, parties that occupy the space

with the Debtors. As a result, there would be no further administrative burden on the estates to

sell the De Minimis Assets to these prospective buyers. The alternative relief requested here

gives the Trustee the flexibility to dispose of the De Minimis Assets promptly and realize

additional value for the estates.




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               24.     If the De Minimis Assets are sold, the Trustee will provide a list of the

items sold and the aggregate price in an exhibit to a revised form of the Proposed Order. Thus,

all parties in interest will have full knowledge of any potential sale.

               25.     For these reasons, the Trustee respectfully requests the authority to

abandon or, in the alternative, sell the De Minimis Assets.

V.     The Trustee requests immediate relief and a waiver of the 14-day stay under
       Bankruptcy Rule 6004(h).

               26.     Pursuant to Bankruptcy Rule 6004(h), the Trustee seeks a waiver of any

stay of the effectiveness of the Proposed Order, to the extent that it applies to the relief requested

in the Motion. Bankruptcy Rule 6004(h) provides that “[a]n order authorizing the use, sale, or

lease of property other than cash collateral is stayed until the expiration of 14 days after entry of

the order, unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h). The relief requested

herein is essential to avoid the potential accrual of unnecessary administrative expenses and to

potentially provide value to the estates if the Trustee is successful in selling the De Minimis

Assets. Accordingly, the Trustee submits that, to the extent Bankruptcy Rule 6004(h) applies,

ample cause exists to justify a waiver of the 14-day stay.

                                  RESERVATION OF RIGHTS

               27.     Nothing contained herein is intended or shall be construed as: (i) an

admission as to the validity, amount or priority of any claim against the Debtors; (ii) a waiver of

the Trustee’s rights to dispute any claim; (iii) a promise or requirement to pay any claim; (iv) a

waiver of any claim or cause of action of the Trustee that exists against any entity; (v) a

ratification or assumption of any agreement, contract, or lease under section 365 of the

Bankruptcy Code; (vi) a waiver of limitation of the Trustee’s rights under the Bankruptcy Code,

any other applicable law, or any agreement; or (vii) an admission or concession by the Trustee


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that any lien is valid, and the Trustee expressly reserves and preserves his rights to contest the

extent, validity, or perfection, or seek avoidance of, any lien.

                                              NOTICE

               28.     A copy of this Motion will be served via hand delivery, first-class mail,

and/or electronic mail, where available and as applicable, upon: (a) the Office of the United

States Trustee for the District of Delaware; (b) the Debtors’ 20 largest unsecured creditors on a

consolidated basis; (c) all counterparties to a Specified Contract or Lease; and (d) any other party

that has requested notice pursuant to Local Rule 2002-1(b). The Trustee submits that, in light of

the nature of the relief requested, no other or further notice need be provided.

                                          CONCLUSION

               WHEREFORE, the Trustee respectfully requests that the Court enter an order

substantially in the form of the Proposed Order attached hereto as Exhibit A and grant such

other relief as is just and proper under the circumstances.


 Dated: February 28, 2020               MORRIS, NICHOLS, ARSHT & TUNNELL LLP
 Wilmington, Delaware
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                                        Proposed Counsel for Derek C. Abbott, Esq., as
                                        Chapter 11 Trustee to Tough Mudder Inc. and
                                        Tough Mudder Event Production Inc.



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